             Case: 1:21-cv-00366 Document #: 83-14 Filed: 05/25/23 Page 1 of 1 PageID #:1078


Morrell, Benjamin S.

From:                                      Megan O'Malley <momalley@ompc-law.com>
Sent:                                      Friday, May 19, 2023 4:16 PM
To:                                        Fisher, Ian H.; Morrell, Benjamin S.
Cc:                                        Alex Raynor
Subject:                                   Lynch et al. v. CCC - Third Joint Motion to Resolve Discovery Disputes
Attachments:                               Third Joint Motion to Resolve Discovery Disputes - Sent to Def 5-19-23.docx



Counsel:

Attached please find Plaintiff's draft of the Third Joint Motion to Resolve Discovery Disputes, with placeholders
for Defendant's position. Please have your positions to us no later than Tuesday, May 23 at 12 p.m. noon so
that we can review your portions, make any necessary adjustments, and finalize the motion and get it filed.

Please also note that we do not believe any of the CCC produced e-mails, cited in the motion, are properly
designated as confidential. And, certainly, there is no basis to seal any of them. We, thus, intend to file them
with the motion.

Should you have any questions, feel free to contact us.

Thanks,
Megan

Megan O'Malley
O'Malley & Madden, P.C.
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Chicago, Illinois 60605
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